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     July 8, 2024

     VIA ECF
     Honorable Nina R. Morrison
     United States District Judge
     225 Cadman Plaza East
     Brooklyn, New York 11201

                               Re:     United States v. Lu Jianwang
                                       Docket No. 23-MJ 265

     Dear Judge Morrision: :

             We are attorneys of record for Mr. Lu Jianwang in the above criminal matter and
     submit this letter in support of our client’s request to extend his curfew until 11:30 p.m.
     on July 27, 2024 to attend the wedding of his niece. Mr. Jianwang is in compliance with
     all conditions of his release which include a curfew and location monitoring.

               PTSO Sarnelli and AUSA Antoinette Rangel have offered the consent of their
     offices

               Thank you for your consideration.

     Very truly yours,

     ____/s/__________
     JOHN F. CARMAN
     (JC 7149)

     cc:       Tara Sarnelli, U.S. Pretrial Services Officer

               Antoinette Rangel, Assistant United States Attorney

     JFC/ams
